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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           HELENA DIVISION

HERU SPENCER,

             Plaintiff,
vs.

EXPERIAN; EQUIFAX INC;
RELX INC.; TRANSUNION
HOLDING COMPANY INC.;

             Defendants.
                                          Case No. 6:23-cv-00065-BMM-KLD

Your Honor,
I the Plaintiff being Pro Se do ask the court to reconsider its order to accept the
dismissal, Based on Rule 36. When I filed my answer to the court I had
neglected to add the defendant RELX to the answer as it was indented to be an
answer to both Trans Union and RELX, as RELX was sending a brief in support
of Trans Union. As a Pro Se I thought it was a joint brief asking the court for
dismissal. I neglected to add RELX to the brief forward on the top of the brief , a
clerical error on my part. If it was procedure to send an answer to them both
separately I was unaware as I am not a lawyer and ask the courts pardon, for the
oversight.
The brief I send the court on 10/24/23 was intended for both parties , both Trans
Union and RELX.
I beg the courts pardon.

Affidavit of Heru Spencer
